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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION

 DISH TECHNOLOGIES L.L.C. and SLING
 TV L.L.C.
                                                                  COMPLAINT
                     Plaintiffs,                              (Jury Trial Demanded)
        v.
 MG PREMIUM LTD, MG BILLING LTD,                     Case: 2:23-cv-552
 and MG BILLING IRELAND LTD,
 SONESTA TECHNOLOGIES, s.r.o.,
 SONESTA MEDIA, s.r.o., and YELLOW                   Judge: ___________
 PRODUCTION, s.r.o.
                     Defendant.


        Plaintiffs DISH Technologies L.L.C. and Sling TV L.L.C. (collectively, “DISH”) allege

against Defendants MG Premium Ltd, MG Billing Ltd, MG Billing Ireland Ltd, Sonesta

Technologies, s.r.o., Sonesta Media, s.r.o., and Yellow Production, s.r.o. (collectively,

“Defendants”) as follows:

                                   PRELIMINARY STATEMENT

   1.        This is a case of willful infringement of DISH’s valuable patents related to streaming

content to computing devices.       Defendants have infringed those patents and used DISH’s

technology to stream on adult-oriented websites operated or owned by several foreign entities

located in the Republic of Cyprus and other jurisdictions. DISH seeks to recover damages for



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Defendants’ infringement and to obtain injunctive relief to preclude Defendants from further use

of DISH technology.

                                            PARTIES

   2.       Plaintiff DISH Technologies L.L.C. is a limited liability company organized and

existing under the laws of the State of Colorado, with its principal place of business at 9601 South

Meridian Boulevard, Englewood, Colorado 80112. It provides innovation and technology services

and products to, among others, the DISH Network® satellite pay TV service operated by DISH

Network L.L.C. and the Sling TV® streaming pay TV service operated by Sling TV L.L.C.

   3.       Plaintiff Sling TV L.L.C. is a limited liability company organized and existing under

the laws of the State of Colorado, with its principal place of business at 9601 South Meridian

Boulevard, Englewood, Colorado 80112. It operates the Sling TV® streaming pay TV service.

   4.       On information and belief, Defendant MG Premium, Ltd, is a private limited company

organized under the laws of the Republic of Cyprus, with its principal place of business located at

195-197 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone, Cyprus 2540. On information

and belief, Defendant alone—or in conjunction with other defendants, such as Yellow Production,

s.r.o.—operates online streaming services available on a premium subscription website for at least

the following companies: Brazzers, available through http://www.brazzers.com; Digital

Playground, available through https://www.digitalplayground.com; Men.com, available through

http://www.men.com; Babes.com, available through https://www.babes.com; SeanCody, available

through https://www.seancody.com; TransAngels, available through https://transangels.com;

Reality Kings, available through https://www.realitykings.com; MOFOS, available through

https://www.mofos.com; Twistys, available through https://www.twistys.com; Whynotbi,

available     through      https://www.whynotbi.com;         FAKEhub,        available      through




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https://www.fakehub.com; FAKETAXI, accessible through https://www.faketaxi.com; lesbea,

available through https://lesbea.com; dane jones, accessible through https://www.danejones.com;

SEXYhub, accessible through https://sexyhub.com; I Know That Girl, available through

https://iknowthatgirl.com; mile high, available through https://milehighmedia.com; Bang Bros,

available through https://bangbros.com. The listed websites are exemplary and not limited to all

of the infringing websites provided by Defendants (the listed exemplars and additional infringing

streaming services are collectively referred to herein as the “Accused Streaming Services”).

      5.      On information and belief, Defendant MG Billing, Ltd, is a private limited company

organized under the laws of the Republic of Cyprus, with its principal place of business located at

195-197 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone, Cyprus 2540. On information

and belief, Defendant MG Billing, Ltd participates with Defendant MG Premium, Ltd in the

operation of online streaming services available on a premium subscription website for the

Accused Streaming Services.

      6.      On information and belief, Defendant MG Billing Ireland, Ltd, is a private limited

company organized under the laws of Ireland, with its principal place of business located at 195-

197 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone, Cyprus 2540. On information and

belief, Defendant MG Billing Ireland, Ltd facilitates the operation of online streaming services

available on a premium subscription website for the Accused Streaming Services.

      7.      MindGeek has been used as a catch-all trade name for all of the Accused Streaming

Services. On information and belief, MindGeek underwent a name and branding change to revise

its        name    to     Aylo.     See    https://www.aylo.com/newsroom/mindgeek-rebrands/;

https://endsexualexploitation.org/articles/pornhub-parent-company-changes-name-in-attempt-to-

sanitize-image/.




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   8.      On information and belief, Defendant Sonesta Technologies, s.r.o. (“Sonesta Tech”) is

a limited liability company organized under the laws of the Czech Republic, with its principal

place of business located at Krakovská 1366/25, Nové Město (Praha 1), 110 00 Prague, Czech

Republic. On information and belief, Sonesta Tech operates subscription-based online streaming

websites, such as the website BangBros.com.

   9.      On information and belief, Defendant Sonesta Media, s.r.o. (“Sonesta Media”) is a

limited liability company organized under the laws of the Czech Republic, with its principal place

of business located at Krakovská 1366/25 Praha 1 - Nové Město, Hlavní město Praha, 110 00

Prague, Czech Republic. On information and belief, Sonesta Media facilitates the online streaming

of subscription-based websites, such as Pornhub.com, Xvideos.com, and Xnxx.com.

   10.     On information and belief, Defendant Yellow Production s.r.o. (“Yellow Production”)

is a limited liability company organized under the laws of the Czech Republic, with its principal

place of business located at Kubišova 919/19, 18200 Praha – Libeň. On information and belief,

Yellow Production produces and facilitates the streaming of videos on online subscription-based

video    websites,   such     as    FakeTaxi.com,     FakeHub.com,      FakeDrivingSchool.com,

PublicAgent.com, and FakeHostel.com.

                                   JURISDICTION AND VENUE

   11.     DISH asserts a claim for patent infringement against Defendants arising under the

patent laws of the United States, Title 35 of the United States Code. Accordingly, this Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

   12.     This Court has personal jurisdiction over Defendants MG Premium, Ltd, MG Billing,

Ltd, MG Billing Ireland Ltd, Sonesta Techs, Sonesta Media, and Yellow Production for at least

the following reasons: (1) Defendants are incorporated in Cyprus, Ireland, and the Czech Republic,




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not in the United States, subjecting them to jurisdiction in any judicial district in which they have

operated or are operating; (2) Defendants have committed acts of patent infringement and

contributed to and induced acts of patent infringement by others in this District; (3) Defendants

regularly have done business or solicit business in this District; (4) Defendants engage in other

persistent courses of conduct and derive substantial revenue by offering and providing infringing

products and services in this District; and (5) Defendants have purposefully established substantial,

systematic, and continuous contacts with this District and should reasonably expect to be haled

into court here by its offering of infringing products and services and providing infringing products

and services in this District.

    13.     Venue is proper in the District of Utah under at least 28 U.S.C. §§ 1391(b), (c) and/or

1400(b) at least because Defendants are incorporated outside of the United States. Additionally,

on information and belief, Defendants have no principal places of business in any judicial district

of the United States. Moreover, on information and belief, Defendants have committed acts of

infringement in the State of Utah, including but not limited to offering products or services that

infringe one or more of DISH’s asserted patents to customers located in Utah and/or for use in

Utah.

    14.     Moreover, venue is proper in the District of Utah because Defendants have directed

their infringing acts towards the State of Utah. Specifically, the Accused Streaming Services that

Defendants own and operate are specifically tailored to do business in Utah. For example, upon

the passage of Utah Senate Bill 287, which requires the Accused Streaming Services to verify the

adult age of viewers, Defendants began showing the following image on their sites to viewers

accessing a site from an Internet Protocol (“IP”) address located in Utah:




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The Accused Streaming Services are directed specifically to residents of Utah.

   15.     The District of Utah is also the most convenient forum. In addition to Defendants’

infringement of the Asserted Patents in Utah, the inventors listed on the patents at issue are located

in Utah, the inventive work leading to the patents at issue was largely done in Utah, DISH

maintains offices in Utah, and some of the ABR inventors are or were DISH employees who work

in DISH’s Utah offices.

                                        THE ABR PATENTS

   16.     On November 5, 2019, the PTO duly and lawfully issued United States Patent No.

10,469,554 (“the ’554 Patent”), entitled “Apparatus, system, and method for multi-bitrate content

streaming.” A true and correct copy of the ’554 Patent is attached as Exhibit A. The named

inventors of the ’554 Patent are David F. Brueck of Saratoga Springs, Utah, Mark B. Hurst of



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Cedar Hills, Utah, and R. Drew Major of Orem, Utah. Subject to the exclusive license referenced

below, all rights, title, and interest in and to the ’554 Patent have been assigned to DISH

Technologies L.L.C., which is the sole owner of the ’554 Patent.

   17.     On June 13, 2023, the PTO duly and lawfully issued United States Patent No.

11,677,798 (“the ’798 Patent”), entitled “Apparatus, system, and method for multi-bitrate content

streaming.” A true and correct copy of the ’798 Patent is attached as Exhibit B. The named

inventors of the ’798 Patent are David F. Brueck of Saratoga Springs, Utah, Mark B. Hurst of

Cedar Hills, Utah, and R. Drew Major of Orem, Utah. Subject to the exclusive license referenced

below, all rights, title, and interest in and to the ’798 Patent have been assigned to DISH

Technologies L.L.C., which is the sole owner of the ’798 Patent.

   18.     On August 2, 2016, the PTO duly and lawfully issued United States Patent No.

9,407,564 (“the ’564 Patent”), entitled “Apparatus, system, and method for adaptive-rate shifting

of streaming content.” A true and correct copy of the ’564 Patent is attached as Exhibit C. The

named inventors of the ’564 Patent are Mark B. Hurst of Cedar Hills, Utah and R. Drew Major of

Orem, Utah. Subject to the exclusive license referenced below, all rights, title, and interest in and

to the ’564 Patent have been assigned to DISH Technologies L.L.C., which is the sole owner of

the ’564 Patent.

   19.     On March 16, 2021, the United States Patent and Trademark Office (the “PTO”) duly

and lawfully issued United States Patent No. 10,951,680 (“the ’680 Patent”), entitled “Apparatus,

system, and method for multi-bitrate content streaming.” A true and correct copy of the ’680

Patent is attached as Exhibit D. The named inventors of the ’680 Patent are David F. Brueck of

Saratoga Springs, Utah, Mark B. Hurst of Cedar Hills, Utah, and R. Drew Major of Orem, Utah.

Subject to the exclusive license referenced below, all rights, title, and interest in and to the ’680




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Patent have been assigned to DISH Technologies L.L.C., which is the sole owner of the ’680

Patent.

   20.     On October 21, 2014, the PTO duly and lawfully issued United States Patent No.

8,868,772 (“the ’772 Patent”), entitled “Apparatus, system, and method for multi-bitrate content

streaming.” A true and correct copy of the ’772 Patent is attached as Exhibit E. The named

inventors of the ’772 Patent are R. Drew Major of Orem, Utah, and Mark B. Hurst of Cedar Hills,

Utah. Subject to the exclusive license referenced below, all rights, title, and interest in and to the

’772 Patent have been assigned to DISH Technologies L.L.C., which is the sole owner of the ’772

Patent.

   21.     On October 21, 2014, the PTO duly and lawfully issued United States Patent No.

11,470,138 (“the ’138 Patent”), entitled “Apparatus, system, and method for multi-bitrate content

streaming.” A true and correct copy of the ’138 Patent is attached as Exhibit F. The named

inventors of the ’138 Patent are David F. Brueck of Saratoga Springs, Utah, Mark B. Hurst of

Cedar Hills, Utah, and R. Drew Major of Orem, Utah. Subject to the exclusive license referenced

below, all rights, title, and interest in and to the ’138 Patent have been assigned to DISH

Technologies L.L.C., which is the sole owner of the ’138 Patent.

   22.     DISH Technologies has entered into an exclusive license with Sling TV L.L.C. granting

substantial rights in the above identified patents to Sling TV L.L.C., including the right to sue

thereon.

   23.     The claimed inventions in these patents are directed to various novel aspects and

improvements         to      adaptive       bitrate      streaming        (“ABR”)        technology.

The ’680, ’798, ’564, ’554, ’772, and ’138 Patents (collectively, “the ABR Patents”) are currently

in full force and effect. Each of the ’680, ’798, ’564, ’554, ’772, and ’138 Patents issued from




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U.S. Patent Application No. 11/116,783 or patent applications that are continuations or

continuations-in-part of U.S. Patent Application No. 11/116,783.

                                BACKGROUND OF THE DISPUTE

                MOVE IS A PIONEER OF ADAPTIVE BITRATE TECHNOLOGY

   24.        Drew Major founded MOVE Networks, Inc. (“MOVE”) in 2003 in American Fork,

Utah (under the name XLon, until 2006).         MOVE invented HTTP-based Adaptive Bitrate

Streaming to improve the quality of streamed video content over the Internet, and was the original

owner of the ABR Patents. While at MOVE, inventors David Brueck, Mark Hurst, and Drew

Major (collectively, “the ABR Inventors”) observed that the Internet was fast becoming a preferred

method for distributing live and recorded video to individuals. However, content delivery over

the Internet at the time was notoriously unreliable, expensive and inferior in quality compared to

cable and satellite delivered content. To access video content online, users were left with two

mediocre choices: (1) waiting for their content to download (which did not support immediate

viewing of live content and often required the user to select the quality desired: LOW, MEDIUM,

or HIGH, which in turn determined how long the user had to wait before viewing); or (2) streaming

live or recorded content that often was unreliable (pausing to “buffer”) or only worked at low-

resolution.

   25.        The ABR Inventors knew that media streaming had not reached its full potential and

that, through research and improvement, it was possible that streaming could rival the quality of

cable and satellite delivered content. The current state-of-the-art was unacceptable prior to the

inventions disclosed in the patents-in-suit. Often during playback, the streaming technologies did

a poor job selecting the video quality / resolution that the network bandwidth and reliability could

support. Most commercial systems, from companies like RealNetworks, Adobe, Microsoft, or




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Apple, were proprietary implementations based on public Internet standards (RTP/RTSP).

Common standards notwithstanding, the proprietary implementations were mutually incompatible.

They were expensive to deploy by the Content Delivery Networks (“CDNs”) and required many

servers to scale to a large number of viewers. In addition, these technologies often required custom

server architectures and routing IT configurations to penetrate Internet firewalls. The ABR

Inventors recognized these shortcomings as an opportunity and they developed a better solution.

   26.     The ABR Patents’ specifications detail the need for improved data transport in content

streaming. Users will generally choose streaming over downloading because “they tend to want

to see or hear the media files instantaneously.” See, e.g., ’554 Patent, Exhibit A, at col. 1, ll. 66–

67. Unfortunately for protocols at the time, “[s]treaming offers the advantage of immediate access

to the content but currently sacrifices quality compared with downloading a file of the same

content.” See, e.g., id. col. 2, lines 1–4. The ABR Inventors observed that “a need exists for an

[invention] that alleviates the problems of reliability, efficiency, and latency” encountered in

currently available content streaming systems. See, e.g., id. col. 2, ll. 59-61.

   27.     To address these needs, the ABR Inventors came up with a novel solution: HTTP-

based Adaptive Bitrate Streaming.        ABR segments the full content file into smaller units

(“streamlets”) in multiple bitrates and delivers them over HTTP / TCP, the underlying protocols

used for reliably transmitting data over the Internet. The ABR Inventors’ approach enables content

delivery to adapt to the bandwidth available at any particular time, ensuring delivery of the highest

possible quality content throughout the course of the stream.          The playback client device

continuously observes the quality of a user’s network connection and adjusts the requested quality

of the streamed content.       The other RTP/RTSP-based technologies used a client / server

architecture, where the server determined the bitrate to send to the client. The other technologies




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also did not segment the content, usually delivering it as a continuous stream of bits or as a single

large file. Segmenting the content allows the playback device to easily change bitrates. The result

is that today, MOVE’s patented ABR technology allows Internet users to stream content from

across the world in real time at the highest possible quality.

   28.     The ABR Patents’ specifications describe how the MOVE inventors significantly

improved the user viewing experience of streaming content data over a network: “[A] need exists

for an apparatus, system, and method that alleviate the problems of reliability, efficiency, and

latency [during data transport streaming over a network]. Additionally, such an apparatus, system,

and method would offer instantaneous viewing along with the ability to fast forward, rewind, direct

seek, and browse multiple streams.” See, e.g., id. col. 2, ll. 37–43.

   29.     One unconventional but fundamental improvement described in the ABR Patents is the

creation of sets of streamlets from the original large content file, where a plurality of streamlets in

each set are aligned by starting time and duration (typically a few seconds) but have different

bitrates. Contiguous playback of the streamlets independently yields playback of the full content.

The common alignment of the streamlets in each set allows a playback device to select one quality

of streamlet from a particular set, and, as needed to adjust for changing bandwidth resources, to

select a different quality of streamlet from the subsequent set. When the bandwidth of the user’s

network is constrained, the client can select a lower bitrate to maintain playback continuity instead

of “buffering.” This eliminates the need for users to download the full content file before

beginning playback. Segmenting the media into streamlets enables users to retrieve and enjoy

content at the best appropriate bitrate possible as the media is streamed. It is also well suited for

live stream playback.




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   30.     Another non-routine and revolutionary improvement described in the ABR Patents is

that the client (rather than the server) controls switching between different bitrates. The benefits

of using an intelligent client to make the decisions and switch between different bitrate streamlets

are two-fold. First, the client is in a better position to determine the appropriate streamlet by

measuring the actual throughput of the network at its point of reception. Second, moving the

decision-making to the client effectively eliminates the need for a customized video server.

Instead, a standard web server can be employed to host all the content’s streamlets. Streamlets are

requested by a client using the standard HTTP/TCP protocol—the web standard upon which the

Internet is built. Custom IT configurations are unnecessary as the file requests operate on the same

“port 80” as all web server requests. Access to the segmented content can be scaled exponentially

through the use of standardized web caches. Together, these benefits represent a vast reduction in

operating and publishing costs versus RTP/RTSP-based systems.

   31.     The ABR Inventors’ improvements to streaming succeeded where others tried and

failed. During the late 1990s, established streaming companies, including RealNetworks, Adobe,

Microsoft, and Apple, separately attempted to develop a successful multiple bitrate streaming

platform by using proprietary implementations of the RTP/RTSP standards. None of these systems

succeeded at making bitrate switching consistent and none actually worked over the Internet.

                           ABR PATENTS SELL FOR $45 MILLION

   32.     In December of 2010, EchoStar Advanced Technologies L.L.C., then a wholly owned

subsidiary of EchoStar Corporation, spent $45 million to acquire MOVE and its ABR Patent

portfolio. Recognizing the ingenuity of MOVE’s ABR technology and the value-added for its

customers and their increasing interest in quality online content delivery, DISH affiliate DISH

Digital Holding L.L.C. acquired EchoStar Advanced Technologies L.L.C. in connection with a




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joint venture with EchoStar Corporation in 2012. EchoStar Advanced Technologies L.L.C., which

was later renamed DISH Digital L.L.C., transferred the ABR Patents to EchoStar Technologies

L.L.C. (a subsidiary of EchoStar Corporation) in 2014. In February 2017, EchoStar Technologies

L.L.C. became a subsidiary of DISH Network L.L.C., and in February 2018, was renamed DISH

Technologies L.L.C.

   33.     Two of the three ABR Inventors became and remain Utah-based DISH employees that

work from DISH’s offices in American Fork, Utah. The third inventor resides in Utah.

   34.     DISH and its affiliated companies are a leading provider of satellite TV and Internet

streaming services and serve approximately nine million subscribers in the United States. It is a

leading investor and innovator in infrastructure and technologies that will meet the personalized

needs of its increasingly diverse pool of customers. Since its founding, DISH and its affiliated

companies have invested millions in research and development and acquisition of novel

technologies that will resolve long-felt problems and needs across its industry.

   35.     As the public continues to increasingly rely on the Internet for its informational and

entertainment needs, DISH and its affiliated companies have dedicated great time and resources

to improving the quality of streaming media. The specific entities that implement and own the

technology covered by MOVE’s patent portfolio have undergone significant evolution. These

entities continue to improve upon ABR technology and advance reliable delivery of high-

resolution content over the Internet.

   36.     DISH’s recent investments in ABR technology have already proven a success. ABR

is one of the primary contributors to Sling TV’s popularity. Sling TV L.L.C. is DISH and its

affiliated companies’ main Internet-delivered content provider, offering programming to

numerous Internet streaming devices. Since the launch of Sling TV in the beginning of 2015,




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Sling TV has grown to over two million subscribers, who are now receiving a live TV video

experience comparable to cable or satellite.

      DEFENDANT’S PRODUCTS AND SERVICES INFRINGE THE ABR PATENTS

   37.     Defendants have been and are now directly infringing and/or indirectly infringing the

ABR Patents.

   38.     On information and belief, Defendants are distributors of content via the Internet. Each

Defendant makes, uses, sells, and offers for sale in the United States products and services that

infringe the ABR Patents, namely, the Accused Streaming Services, and each continues to do so.

   39.     On information and belief, the Accused Streaming Services provide either live and/or

on-demand videos according to the HTTP Live Streaming protocol (“HLS”) and the limitations

covered by the DISH-owned patents asserted in the present lawsuit.

   40.     Further, on information and belief, Defendants directly and indirectly control the

quality of the playback offered by the Accused Streaming Services. On information and belief,

Defendants “have a dedicated team working strictly on the video player…[whose] first priority is

to monitor performance and efficiency” of Defendants’ video players. As part of Defendants’

quality control, Defendants continually strive to mimic the seamless adaptive bitrate streaming

system taught by HLS, “otherwise the video would constantly stutter and have artifacts.” See

Exhibit G, David Walsh, Interview with a Pornhub Web Developer, DWB (Oct. 7, 2019),

accessible via https://davidwalsh.name/pornhub-interview.

             RECENTLY FILED NDCA LAWSUIT BY MG FREESITES LTD

   41.     On March 17, 2023, DISH sent a letter to a Canadian address listed as the office of

MindGeek Montreal Chief Legal Officer, Anthony Penhale. A true and correct copy of the March

17, 2023 letter is attached as Exhibit H. The letter enclosed U.S. Patent No. 10,757,156 and




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informed Mr. Penhale that DISH owned a portfolio of patent assets used in adaptive bit-rate

streaming standards, and informed Mr. Penhale of MindGeek that the ITC recently found several

other parties that used products using HLS and/or MPEG-DASH infringed certain claims of those

patents.

    42.     On April 13, 2023, twenty-seven days later, DISH heard back from attorney Frank

Gasparo from the Venable LLP law firm claiming to represent MindGeek, without identifying any

specific corporate entity in the letter. Exhibit I. In that letter, Mr. Gasparo stated that he would be

in touch.

    43.     DISH did not receive any further communications, so DISH followed up with Mr.

Gasparo on July 7, 2023, providing exemplary claim charts and availability to discuss terms of a

license. Exhibit J, at 5.

    44.     On July 12, 2023, Mr. Gasparo responded by email confirming receipt of the claim

charts, and identifying that he would get back to DISH to “arrange a call once we have had a

chance to review the charts.” Exhibit K, at 4. On July 21, 2023, nine days after confirming receipt

of the claim charts, Mr. Gasparo requested DISH’s availability to discuss the claim charts. DISH’s

in-house counsel provided availability and in an email at 10:19 a.m. Eastern Time on July 25,

2023, a call was set for the next day, July 26, at 1 p.m. Eastern Time. Id. at 3-4.

    45.     However, on the evening of July 25, 2023, without further communication to DISH, a

different company never previously addressed by DISH or identified by the attorneys at Venable,

MG Freesites Ltd filed an action in the Northern District of California against DISH seeking a

declaratory judgment of non-infringement of U.S. Patent Nos. 10,469,555, 10,757,156, and

11,470,138 (the “Declaratory Judgment Action”). Exhibit L. Prior to this lawsuit, MG Freesites

Ltd, had never before been brought up in emails, correspondence, or any communication between




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DISH and Mr. Gasparo. MG Freesites Ltd filed its Declaratory Judgment Action the day before

the Venable law firm, which claimed to represent MindGeek, was scheduled to meet with DISH.

   46.      In its Declaratory Judgment Action, MG Freesites Ltd lists, as counsel, Mr. Gasparo

and four other attorneys with Venable LLP.

   47.      In its Declaratory Judgment Action, MG Freesites Ltd alleges that it is an entity located

in the Republic of Cyprus and claims to operate the free version of the Pornhub website. It does

not appear to have any assets in the United States. See Exhibit L, at 2.

   48.      The entities sued in the present lawsuit are separate legal entities from MG Freesites

Ltd. Specifically, MG Premium, Ltd has separate and distinct accounts, funds, and a separately

identifiable board from MG Freesites Ltd. Further, the Accused Streaming Services are separate

from the streaming services operated by MG Freesites Ltd. See Exhibit M, at 2-3 (Declaration of

A. Andreou, Fleites v. MindGeek, No. 2:21-cv-04920, Dkt. 70-2, at 2)

   49.      Only one of the patents in this action overlaps with the patents at issue in MG Freesites

Ltd’s Declaratory Judgment Action. None of the parties sued in this lawsuit are present or named

in the Declaratory Judgment Action.

                                     CLAIMS FOR RELIEF

               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 10,469,554

                                   DIRECT INFRINGEMENT

   50.      DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–49 of the Complaint as if fully set forth herein.

   51.      On information and belief, Defendants indirectly infringe, literally and/or under the

doctrine of equivalents, at least claim 16 of the ’554 Patent, which recites:


         An end user station to stream a live event video over a network from a server for
            playback of the video, the content player device comprising:


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         a processor;
         a digital processing apparatus memory device comprising non-transitory machine-
             readable instructions that, when executed, cause the processor to:
         establish one or more network connections between the end user station and the
             server, wherein the server is configured to access at least one of a plurality of
             groups of streamlets;
         wherein the live event video is encoded at a plurality of different bitrates to create
            a plurality of streams including at least a low quality stream, a medium quality
            stream, and a high quality stream, each of the low quality stream, the medium
            quality stream, and the high quality stream comprising a group of streamlets
            encoded at the same respective one of the different bitrates, each group
            comprising at least first and second streamlets, each of the streamlets
            corresponding to a portion of the live event video;
         wherein at least one of the low quality stream, the medium quality stream, and the
            high quality stream is encoded at a bit rate of no less than 600 kbps; and
         wherein the first streamlets of each of the low quality stream, the medium quality
            stream and the high quality stream each has an equal playback duration and
            each of the first streamlets encodes the same portion of the live event video at
            a different one of the different bitrates;
         select a specific one of the low quality stream, the medium quality stream, and the
             high quality stream based upon a determination by the end user station to select
             a higher or lower bitrate version of the streams;
         place a streamlet request to the server over the one or more network connections
             for the first streamlet of the selected stream;
         receive the requested first streamlet from the server via the one or more network
             connections; and

         provide the received first streamlet for playback of the live event video.

   52.      The Accused Streaming Services receive segments of a selected live video program for

playback of programming over a network connection. The Accused Streaming Services adapt

requests for segments from a set of segments with the same content but varying quality based upon

the quality of the network connection. Exhibit N to this Complaint is a claim chart with a more

detailed infringement analysis of the Accused Streaming Services.




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    53.     Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 16 of the ’554 Patent in the

United States.

    54.     Defendants possess knowledge of, and are aware of, the ’554 Patent, or became aware

at the time of filing this lawsuit.

    55.     Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    56.     Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this court.

                         INDIRECT INFRINGEMENT BY INDUCEMENT

    57.     DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–56 of the Complaint as if fully set forth herein.

    58.     Defendants are liable for inducing infringement of the ’554 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’554 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’554 Patent, with

specific intent, by their customers.

    59.     Specifically, Defendants actively induce infringement of the ’554 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or

sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,

end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’554 Patent.




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   60.     Defendants’ customers of the Accused Streaming Services directly infringe the ’554

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

   61.     For example, Defendants actively induce infringement of the ’554 Patent, because

Defendants have knowledge that end users of the Accused Streaming Services including, but not

limited to, users, subscribers, digital streaming platforms, digital mobile platforms, and digital

connected device platforms, use Defendants’ infringing Accused Streaming Services in the United

States, and because Defendants encourage such acts resulting in direct patent infringement, by,

inter alia, training, promotion, and/or sales of the Accused Streaming Services to Defendants’

customers including, but not limited to, end-users, subscribers, digital streaming platforms, digital

mobile platforms, and digital connected device platforms for their use of adaptive-rate content

streaming as claimed in the ’554 Patent.

   62.     On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’554 Patent through inducement of the sale and use of the Accused Streaming Services.

   63.     The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’554 Patent.

   64.     On information and belief, despite knowing that their actions constituted induced

infringement of the ’554 Patent and/or despite knowing that there was a high likelihood that their

actions constituted induced infringement of the patent, Defendants nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.




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   65.     Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’554 Patent.

   66.     Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.

   67.     Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this

Court.

           INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   68.     DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–67 of the Complaint as if fully set forth herein.

   69.     Defendants are liable for contributory infringement of the ’554 Patent under 35 U.S.C

§ 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused

Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’554 Patent, which Defendants know to be especially

made and/or especially adapted for use in infringement of the ’554 Patent, and which is not a staple

article or commodity of commerce suitable for substantial non-infringing use.

   70.     Defendants are liable for contributory infringement by having knowledge of the ’554

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

to cause, direct infringement of the ’554 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.

   71.     Specifically, Defendants contribute to infringement of the ’554 Patent by, inter alia,

promotion, and/or sales of the infringing Accused Streaming Services to Defendants’ customers,




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including users and subscribers, for their use of adaptive-rate content streaming as claimed in the

’554 Patent. Those customers directly infringe the ’554 Patent by using the Accused Streaming

Services.

   72.      For example, Defendant MG Premium, Ltd is liable for contributory infringement by

knowingly causing or intending to cause, and continuing to knowingly cause or intend to cause,

customers of the Accused Streaming Services, including users and subscribers, to directly infringe

the ’554 Patent by using the Accused Streaming Services in the United States.

   73.      The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’554 Patent.

   74.      Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’554 Patent.

   75.      Defendants’ past and ongoing infringement of the ’554 Patent has and will continue to

irreparably harm DISH.

   76.      Defendants’ past and ongoing infringement of the ’554 Patent has and will continue to

cause DISH damages.

              COUNT II: INFRINGEMENT OF U.S. PATENT NO. 11,677,798

                                  DIRECT INFRINGEMENT

   77.      DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–76 of the Complaint as if fully set forth herein.




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   78.        On information and belief, Defendants directly infringe, literally and/or under the

doctrine of equivalents, at least claim 1 of the ’798 Patent, which recites:


          A system for adaptive-rate content streaming of digital content playable on one or
             more end user stations over the Internet, the system comprising:
          at least one storage device storing digital content, the digital content encoded at a
              plurality of different bit rates creating a plurality of streams including a first bit
              rate stream, a second bit rate stream, and a third bit rate stream, wherein the
              first bit rate stream, the second bit rate stream, and the third bit rate stream each
              comprise a group of streamlets encoded at a respective one of the plurality of
              different bit rates, each group of streamlets comprising at least first and second
              streamlets, each of the streamlets corresponding to a portion of the digital
              content;
          wherein at least one of the first bit rate stream, the second bit rate stream, and the
             third bit rate stream is encoded at a bit rate of no less than 600 kbps; and
          wherein the first streamlet of each of the groups has the same first duration and
             encodes the same first temporal portion of the digital content in each of the first
             bit rate stream, the second bit rate stream, and the third bit rate stream, and
             wherein the first streamlet of the first bit rate stream encodes the same first
             temporal portion of the digital content at a different bit rate than the first
             streamlet of the second bit rate stream and the first streamlet of the third bit rate
             stream.

The Accused Streaming Services provide segments of a selected video program for playback of

programming on end user stations over a network connection. The Accused Streaming Services

adapt requests for segments from a set of segments with the same content but varying quality based

upon the quality of the network connection. Exhibit O to this Complaint is a claim chart with a

more detailed infringement analysis of the Accused Streaming Services.

   79.         Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 1 of the ’798 Patent in the United

States.




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    80.     Defendants possess knowledge of, and are aware of, the ’798 Patent, or became aware

of this patent at the time of filing this lawsuit.

    81.     Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    82.     Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this court.

                         INDIRECT INFRINGEMENT BY INDUCEMENT

    83.     DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–82 of the Complaint as if fully set forth herein.

    84.     Defendants are liable for inducing infringement of the ’798 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’798 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’798 Patent, with

specific intent, by their customers.

    85.     Specifically, Defendants actively induce infringement of the ’798 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or

sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,

end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’798 Patent.

    86.     Defendants’ customers of the Accused Streaming Services directly infringe the ’798

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

    87.     For example, Defendants’ actively induce infringement of the ’798 Patent, because

Defendants have knowledge that end users of the Accused Streaming Services including, but not




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limited to, users, subscribers, digital streaming platforms, digital mobile platforms, and digital

connected device platforms, provide end user stations for the infringing Accused Streaming

Services in the United States, and because Defendants encourage such acts resulting in direct

patent infringement, by, inter alia, training, promotion, and/or sales of the Accused Streaming

Services to Defendants’ customers including, but not limited to, end-users, subscribers, digital

streaming platforms, digital mobile platforms, and digital connected device platforms for their use

of adaptive-rate content streaming as claimed in the ’798 Patent.

   88.     On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’798 Patent through inducement of the sale and use of the Accused Streaming Services.

   89.     The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants’ would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’798 Patent.

   90.     On information and belief, despite knowing that their actions constituted induced

infringement of the ’798 Patent and/or despite knowing that there was a high likelihood that their

actions constituted induced infringement of the patent, Defendants’ nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.

   91.     Defendants’ continues to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’798 Patent.

   92.     Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.




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   93.     Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants’ will continue these infringing acts unless enjoined by this

Court.

           INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   94.     DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–93 of the Complaint as if fully set forth herein.

   95.     Defendants are liable for contributory infringement of the ’798 Patent under 35 U.S.C

§ 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused

Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’798 Patent, which Defendants know to be especially

made and/or especially adapted for use in infringement of the ’798 Patent, and which is not a staple

article or commodity of commerce suitable for substantial non-infringing use.

   96.     Defendants are liable for contributory infringement by having knowledge of the ’798

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

to cause, direct infringement of the ’798 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.

   97.     Specifically, Defendant MG Premium, Ltd contributes to infringement of the ’798

Patent by, inter alia, promotion, and/or sales of the infringing Accused Streaming Services to

customers of the Accused Streaming Services, including users and subscribers, for their use of

adaptive-rate content streaming as claimed in the ’798 Patent. Those customers directly infringe

the ’798 Patent by using the Accused Streaming Services.




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   98.     For example, Defendants are liable for contributory infringement by knowingly

causing or intending to cause, and continuing to knowingly cause or intend to cause, Defendants’

customers, including users and subscribers, to directly infringe the ’798 Patent by using the

Accused Streaming Services in the United States.

   99.     The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’798 Patent.

   100.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’798 Patent.

   101.    Defendants’ past and ongoing infringement of the ’798 Patent has and will continue to

irreparably harm DISH.

   102.    Defendants’ past and ongoing infringement of the ’798 Patent has and will continue to

cause DISH damages.

              COUNT III: INFRINGEMENT OF U.S. PATENT NO. 9,407,564

                                   DIRECT INFRINGEMENT

   103.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–102 of the Complaint as if fully set forth herein.

   104.    On information and belief, Defendants directly infringe, literally and/or under the

doctrine of equivalents, at least claim 8 of the ’564 Patent, which recites:




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       A method executable by an end user station to present rate-adaptive streams
         received via at least one transmission control protocol (TCP) connection with a
         server over a network, the method comprising;

       streaming, by a media player operating on the end user station, a video from the
           server via the at least one TCP connection over the network, wherein multiple
           different copies of the video encoded at different bit rates are stored as multiple
           sets of files on the server, wherein each of the files yields a different portion of
           the video on playback, wherein the files across the different copies yield the
           same portions of the video on playback, and wherein each of the files comprises
           a time index such that the files whose playback is the same portion of the video
           for each of the different copies have the same time index in relation to the
           beginning of the video, and wherein the streaming comprises:
       requesting by the media player a plurality of sequential files of one of the copies
          from the server based on the time indexes;
       automatically requesting by the media player from the server subsequent portions
           of the video by requesting for each such portion one of the files from one of the
           copies dependent upon successive determinations by the media player to shift
           the playback quality to a higher or lower quality one of the different copies, the
           automatically requesting including repeatedly generating a factor indicative of
           the current ability to sustain the streaming of the video using the files from
           different ones of the copies, wherein the factor relates to the performance of the
           network; and

       making the successive determinations to shift the playback quality based on the
          factor to achieve continuous playback of the video using the files of the highest
          quality one of the copies determined sustainable at that time, wherein the
          making the successive determinations to shift comprises upshifting to a higher
          quality one of the different copies when the at least one factor is greater than a
          first threshold and downshifting to a lower quality one of the different copies
          when the at least one factor is less than a second threshold; and
       presenting the video by playing back the requested media files with the media
           player on the end user station in order of ascending playback time.

   105.    The Accused Streaming Services receive segments of a selected video program for

playback of programming over a network connection. The Accused Streaming Services adapt

requests for segments from a set of segments with the same content but varying quality based upon

the quality of the network connection. Exhibit P to this Complaint is a claim chart with a more

detailed infringement analysis of the Accused Streaming Services.




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    106.    Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 8 of the ’564 Patent in the United

States.

    107.    Defendants possess knowledge of, and are aware of, the ’564 Patent, or became aware

of this patent at the time of filing this lawsuit.

    108.    Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    109.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants’ will continue these infringing acts unless enjoined by this

court.

                         INDIRECT INFRINGEMENT BY INDUCEMENT

    110.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–109 of the Complaint as if fully set forth herein.

    111.    Defendants are liable for inducing infringement of the ’564 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’564 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’564 Patent, with

specific intent, by their customers.

    112.    Specifically, Defendants actively induce infringement of the ’564 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or

sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,




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end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’564 Patent.

   113.    Defendants’ customers of the Accused Streaming Services directly infringe the ’564

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

   114.    For example, Defendant MG Premium, Ltd actively induces infringement of the ’564

Patent, because MG Premium, Ltd has knowledge that end users of the Accused Streaming

Services including, but not limited to, users, subscribers, digital streaming platforms, digital

mobile platforms, and digital connected device platforms, use MG Premium, Ltd’s infringing

Accused Streaming Services in the United States, and because MG Premium, Ltd encourages such

acts resulting in direct patent infringement, by, inter alia, training, promotion, and/or sales of the

Accused Streaming Services to Defendants’ customers including, but not limited to, end-users,

subscribers, digital streaming platforms, digital mobile platforms, and digital connected device

platforms for their use of adaptive-rate content streaming as claimed in the ’564 Patent.

   115.    On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’564 Patent through inducement of the sale and use of the Accused Streaming Services.

   116.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’564 Patent.

   117.    On information and belief, despite knowing that their actions constituted induced

infringement of the ’564 Patent and/or despite knowing that there was a high likelihood that their




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actions constituted induced infringement of the patent, Defendants nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.

   118.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’564 Patent.

   119.    Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.

   120.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this

Court.

           INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   121.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–120 of the Complaint as if fully set forth herein.

   122.    Defendants are liable for contributory infringement of the ’564 Patent under 35 U.S.C

§ 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused

Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’564 Patent, which Defendants know to be especially

made and/or especially adapted for use in infringement of the ’564 Patent, and which is not a staple

article or commodity of commerce suitable for substantial non-infringing use.

   123.    Defendants are liable for contributory infringement by having knowledge of the ’564

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

to cause, direct infringement of the ’564 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.




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   124.    Specifically, Defendant MG Premium, Ltd contributes to infringement of the ’564

Patent by, inter alia, promotion, and/or sales of the infringing Accused Streaming Services to its

customers, including users and subscribers to the Accused Streaming Services, for their use of

adaptive-rate content streaming as claimed in the ’564 Patent. Those customers directly infringe

the ’564 Patent by using the Accused Streaming Services.

   125.    For example, Defendants are liable for contributory infringement by knowingly

causing or intending to cause, and continuing to knowingly cause or intend to cause, Defendants’

customers, including users and subscribers, to directly infringe the ’564 Patent by using the

Accused Streaming Services in the United States.

   126.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’564 Patent.

   127.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’564 Patent.

   128.    Defendants’ past and ongoing infringement of the ’564 Patent has and will continue to

irreparably harm DISH.

   129.    Defendants’ past and ongoing infringement of the ’564 Patent has and will continue to

cause DISH damages.

             COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,951,680

                                 DIRECT INFRINGEMENT



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   130.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–129 of the Complaint as if fully set forth herein.

   131.    On information and belief, Defendants directly infringe, literally and/or under the

doctrine of equivalents, at least claim 22 of the ’680 Patent, which recites:

       A process executable by one or more servers to stream a video for playback by one
          or more end user stations, the process comprising:

       storing, by the one or more servers, one or more virtual timelines corresponding to
           a plurality of streams including a low quality stream, a medium quality stream,
           and a high quality stream, wherein the low quality stream, the medium quality
           stream, and the high quality stream each comprise a group of streamlets
           encoded at a respective one of a plurality of different bitrates, each group
           comprising at least first and second streamlets, each of the streamlets
           corresponding to a portion of the video;
       wherein at least one of the low quality stream, the medium quality stream, and the
          high quality stream is encoded at a bitrate of no less than 600 kbps; and wherein
          the first streamlet of each of the groups of streamlets has the same first duration
          and encodes the same first portion of the video in the low quality stream, the
          medium quality stream, and the high quality stream, the first streamlet of the
          low quality stream having a different one of the different bitrates than the first
          streamlet of the high quality stream and the first streamlet of the medium quality
          stream;

       receiving at least one virtual timeline request over one or more internet connections
           from the one or more end user stations to retrieve a virtual timeline correspond
           to the first streamlet storing the first portion of the video,
       wherein the at least one streamlet request from the one or more end user stations
          includes a request for a currently selected first streamlet from one of the low
          quality stream, the medium quality stream, and the high quality stream based
          upon a determination by the end user station to select a higher or lower bitrate
          version of the video;
       retrieving from the storage device the requested virtual timeline for the currently
           selected one of the low quality stream, the medium quality stream, and the high
           quality stream; and
       sending the retrieved virtual timeline to the requesting one of the end user stations
          over the one or more network connections.

   132.    The Accused Streaming Services receive segments of selected video programs from at

least one server for playback of programming over a network connection. On information and


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belief, at least one server of the Accused Streaming Services stores at least one virtual timeline

indicating the location of each video segment within the selected video program. The Accused

Streaming Services receive requests from end user stations for the virtual timelines via an online

connection and subsequently retrieve the virtual timeline corresponding to the first segments from

a set of segments within the video program. The Accused Streaming Services provide the retrieved

segments of the same content to the end user station of varying quality, based upon the quality of

the network connection and determination made by an end user station. Exhibit Q to this

Complaint is a claim chart with a more detailed infringement analysis of the Accused Streaming

Services.

    133.    Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 22 of the ’680 Patent in the

United States.

    134.    Defendants possess knowledge of, and are aware of, the ’680 Patent, or became aware

of this patent at the time of filing this lawsuit.

    135.    Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    136.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendant will continue these infringing acts unless enjoined by this court.

                         INDIRECT INFRINGEMENT BY INDUCEMENT

    137.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–136 of the Complaint as if fully set forth herein.




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   138.    Defendants are liable for inducing infringement of the ’680 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’680 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’680 Patent, with

specific intent, by their customers.

   139.    Specifically, Defendants actively induce infringement of the ’680 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or

sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,

end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’680 Patent.

   140.    Defendants’ customers of the Accused Streaming Services directly infringe the ’680

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

   141.    For example, Defendants actively induce infringement of the ’680 Patent because

Defendants have knowledge that end users of the Accused Streaming Services including, but not

limited to, users, subscribers, digital streaming platforms, digital mobile platforms, and digital

connected device platforms, use Defendants’ infringing Accused Streaming Services in the United

States, and because Defendants encourage such acts resulting in direct patent infringement, by,

inter alia, training, promotion, and/or sales of the Accused Streaming Services to Defendants

customers including, but not limited to, end-users, subscribers, digital streaming platforms, digital

mobile platforms, and digital connected device platforms for their use of adaptive-rate content

streaming as claimed in the ’680 Patent.

   142.    On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’680 Patent through inducement of the sale and use of the Accused Streaming Services.




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   143.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’680 Patent.

   144.    On information and belief, despite knowing that their actions constituted induced

infringement of the ’680 Patent and/or despite knowing that there was a high likelihood that their

actions constituted induced infringement of the patent, Defendants nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.

   145.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’680 Patent.

   146.    Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.

   147.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this

Court.

           INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   148.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–147 of the Complaint as if fully set forth herein.

   149.    Defendants are fully liable for contributory infringement of the ’680 Patent under 35

U.S.C § 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused




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Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’680 Patent, which Defendants know to be especially

made and/or especially adapted for use in infringement of the ’680 Patent, and which is not a staple

article or commodity of commerce suitable for substantial non-infringing use.

   150.     Defendants are liable for contributory infringement by having knowledge of the ’156

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

to cause, direct infringement of the ’680 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.

   151.     Specifically, Defendants contribute to infringement of the ’680 Patent by, inter alia,

promotion, and/or sales of the infringing Accused Streaming Services to Defendants’ customers,

including users and subscribers, for their use of adaptive-rate content streaming as claimed in

the ’680 Patent. Those customers directly infringe the ’680 Patent by using the Accused Streaming

Services.

   152.     For example, MG Premium, Ltd is liable for contributory infringement by knowingly

causing or intending to cause, and continuing to knowingly cause or intend to cause, customers of

the Accused Streaming Services, including users and subscribers, to directly infringe the ’680

Patent by using the Accused Streaming Services in the United States.

   153.     The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’680 Patent.




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   154.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’680 Patent.

   155.    Defendants’ past and ongoing infringement of the ’680 Patent has and will continue to

irreparably harm DISH.

   156.    Defendants’ past and ongoing infringement of the ’680 Patent has and will continue to

cause DISH damages.

               COUNT V: INFRINGEMENT OF U.S. PATENT NO. 8,868,772

                                   DIRECT INFRINGEMENT

   157.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–156 of the Complaint as if fully set forth herein.

   158.    On information and belief, Defendants directly infringe, literally and/or under the

doctrine of equivalents, at least claim 1 of the ’772 Patent, which recites:


       A method for presenting rate-adaptive streams, the method comprising::
       streaming by a media player operating on an end user station a video from a set of
           one or more servers, wherein each of a plurality of different copies of the video
           encoded at different bit rates is stored as multiple files on the set of servers,
           wherein each of the multiple files yields a different portion of the video on
           playback, wherein the multiple files across the different copies yield the same
           portions of the video on playback, each of said files having a time index such
           that the files whose playback is the same portion of the video for each of the
           different copies have the same time index in relation to the beginning of the
           video, and wherein the streaming comprises:
       requesting by the media player a plurality of sequential ones of the files of one of
          the copies from the set of servers over a plurality of Transmission Control
          Protocol (TCP) connections based on the time indexes;
       automatically requesting by the media player from the set of servers over the
           plurality of TCP connections subsequent portions of the video by requesting for
           each such portion one of the files from one of the copies dependent upon
           successive determinations by the media player to shift the playback quality to a
           higher or lower quality one of the different copies, said automatically requesting
           including,



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          repeatedly generating a set of one or more factors indicative of the current ability
              to sustain the streaming of the video using the files from different ones of the
              copies, wherein the set of one or more factors relate to the performance of the
              network; and

          making the successive determinations to shift the playback quality based on at least
             one of the set of factors to achieve continuous playback of the video using the
             files of the highest quality one of the copies determined sustainable at that time;
             and
          presenting the video by playing back with the media player on the end user station
              the requested files in order of ascending playback time.

    159.     The Accused Streaming Services present segments of a selected video program for

playback of programming over a network connection. The Accused Streaming Services adapt

requests for sequential segments from a set of segments with the same content but varying quality

based upon the quality of the network connection. Exhibit R to this Complaint is a claim chart

with a more detailed infringement analysis of the Accused Streaming Services.

    160.     Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 1 of the ’772 Patent in the United

States.

    161.     Defendants possess knowledge of, and are aware of, the ’772 Patent, or became aware

of this patent at the time of filing this lawsuit.

    162.     Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    163.     Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants’ will continue these infringing acts unless enjoined by this

court.



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                                 INDIRECT INFRINGEMENT

   164.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–163 of the Complaint as if fully set forth herein.

   165.    On information and belief, Defendants indirectly infringe, literally and/or under the

doctrine of equivalents, at least claim 1 of the ’772 Patent

                        INDIRECT INFRINGEMENT BY INDUCEMENT

   166.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–165 of the Complaint as if fully set forth herein.

   167.    Defendants are liable for inducing infringement of the ’772 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’772 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’772 Patent, with

specific intent, by their customers.

   168.    Specifically, Defendants actively induce infringement of the ’772 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or

sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,

end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’772 Patent.

   169.    Defendants’ customers of the Accused Streaming Services directly infringe the ’772

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

   170.    For example, Defendant MG Premium, Ltd actively induces infringement of the ’772

Patent, because MG Premium, Ltd has knowledge that end users of the Accused Streaming

Services including, but not limited to, users, subscribers, digital streaming platforms, digital

mobile platforms, and digital connected device platforms, use the infringing Accused Streaming




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Services in the United States, and because MG Premium, Ltd encourages such acts resulting in

direct patent infringement, by, inter alia, training, promotion, and/or sales of the Accused

Streaming Services to Defendants customers including, but not limited to, end-users, subscribers,

digital streaming platforms, digital mobile platforms, and digital connected device platforms for

their use of adaptive-rate content streaming as claimed in the ’772 Patent.

   171.    On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’772 Patent through inducement of the sale and use of the Accused Streaming Services.

   172.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’772 Patent.

   173.    On information and belief, despite knowing that their actions constituted induced

infringement of the ’772 Patent and/or despite knowing that there was a high likelihood that their

actions constituted induced infringement of the patent, Defendants nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.

   174.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’772 Patent.

   175.    Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.

   176.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon




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information and belief, Defendants will continue these infringing acts unless enjoined by this

Court.

            INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   177.     DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–176 of the Complaint as if fully set forth herein.

   178.     Defendants are liable for contributory infringement of the ’772 Patent under 35 U.S.C

§ 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused

Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’772 Patent, which Defendants know to be especially

made and/or especially adapted for use in infringement of the ’772 Patent, and which is not a staple

article or commodity of commerce suitable for substantial non-infringing use.

   179.     Defendants are liable for contributory infringement by having knowledge of the ’772

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

to cause, direct infringement of the ’772 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.

   180.     Specifically, Defendants contribute to infringement of the ’772 Patent by, inter alia,

promotion, and/or sales of the infringing Accused Streaming Services to Defendants’ customers,

including users and subscribers, for their use of adaptive-rate content streaming as claimed in the

’772 Patent. Those customers directly infringe the ’772 Patent by using the Accused Streaming

Services.

   181.     For example, Defendant MG Premium, Ltd is liable for contributory infringement by

knowingly causing or intending to cause, and continuing to knowingly cause or intend to cause,




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customers of the Accused Streaming Services, including users and subscribers, to directly infringe

the ’772 Patent by using the Accused Streaming Services in the United States.

   182.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants’ would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’772 Patent.

   183.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’772 Patent.

   184.    Defendants’ past and ongoing infringement of the ’772 Patent has and will continue to

irreparably harm DISH.

   185.    Defendants’ past and ongoing infringement of the ’772 Patent has and will continue to

cause DISH damages.

             COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 11,470,138

                                  DIRECT INFRINGEMENT

   186.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–185 of the Complaint as if fully set forth herein.

   187.    On information and belief, Defendants directly infringe, literally and/or under the

doctrine of equivalents, at least claim 14 of the ’138 Patent, which recites:


       An end user station to stream a video over a network from a server for payback of
          the video, the end user station comprising:

       a processor;




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       a digital processing apparatus memory device comprising non-transitory machine-
           readable instructions that, when executed, cause the processor to:

       establish an internet connection between the end user station and the server,
           wherein the server is configured to access at least one of a plurality of groups
           of streamlets;

       wherein the video is encoded at a plurality of different bitrates to create a plurality
          of streams including at least a low quality stream, a medium quality stream, and
          a high quality stream, each of the low quality stream, the medium quality
          stream, and the high quality stream comprising a group of streamlets encoded
          at the same respective one of the different bitrates, each group comprising at
          least first and second streamlets corresponding to a portion of the video;

       wherein at least one of the low quality stream, the medium quality stream, and the
          high quality stream is encoded at a bitrate of no less than 600 kbps; and
       wherein the first streamlet of each of the low quality stream, the medium quality
          stream, and the high quality stream each has an equal playback duration and
          each of the first streamlets encodes the same portion of the video at a different
          one of the different bitrates;
       select a specific one of the low quality stream, the medium quality stream, and the
           high quality stream based upon a determination by the end user station to select
           a higher or lower bitrate version of the streams;
       place a streamlet request to the server over the internet connection for the first
           streamlet of the selected stream;

       receive the requested first streamlet from the server via the internet connection; and

       provide the received first streamlet for playback of the video.

   188.    The Accused Streaming Services comprises a system for streaming segments of a

selected video program to an end user station over a network connection. The Accused Streaming

Services include at least one server for storing the video segments at various bit rates. Moreover

the Accused Streaming Services adapt requests for sequential segments from a set of segments

with the same content but varying quality based upon the quality of the network connection.

Exhibit S to this Complaint is a claim chart with a more detailed infringement analysis of the

Accused Streaming Services.




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    189.    Defendants provide subscribers to the Accused Streaming Services who are located in

the United States with live streams and videos on demand in the United States. On information

and belief, Defendants perform all the limitations of at least claim 14 of the ’138 Patent in the

United States.

    190.    Defendants possess knowledge of, and are aware of, the ’138 Patent, or became aware

of this patent at the time of filing its sham Declaratory Judgment lawsuit on July 25, 2023. Further,

Defendants possess knowledge of, and are aware of, the ’138 Patent, or became aware of the ’138

Patent at the time of filing this lawsuit.

    191.    Defendants’ acts of infringement have injured and damaged DISH and will continue to

injure and damage DISH.

    192.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants’ will continue these infringing acts unless enjoined by this

court.

                        INDIRECT INFRINGEMENT BY INDUCEMENT

    193.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–192 of the Complaint as if fully set forth herein.

    194.    Defendants are liable for inducing infringement of the ’138 Patent under 35 U.S.C.

§ 271(b) by having knowledge of the ’138 Patent and knowingly causing or intending to cause,

and continuing to knowingly cause or intend to cause, direct infringement of the ’138 Patent, with

specific intent, by their customers.

    195.    Specifically, Defendants actively induce infringement of the ’138 Patent by, inter alia,

training their customers on the use of the Accused Streaming Services and/or promotion and/or




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sales of the Accused Streaming Services to Defendants’ customers including, but not limited to,

end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital connected

device platforms for implementing adaptive-rate content streaming as claimed in the ’138 Patent.

   196.    Defendants’ customers of the Accused Streaming Services directly infringe the ’138

Patent by making, using, selling, and/or offering for sale the Accused Streaming Services.

   197.    For example, Defendant MG Premium, Ltd actively induces infringement of the ’138

Patent, because MG Premium, Ltd has knowledge that end users of the Accused Streaming

Services including, but not limited to, users, subscribers, digital streaming platforms, digital

mobile platforms, and digital connected device platforms, use Defendants’ infringing Accused

Streaming Services in the United States, and because MG Premium, Ltd encourages such acts

resulting in direct patent infringement, by, inter alia, training, promotion, and/or sales of the

Accused Streaming Services to customers of the Accused Streaming Services including, but not

limited to, end-users, subscribers, digital streaming platforms, digital mobile platforms, and digital

connected device platforms for their use of adaptive-rate content streaming as claimed in the ’138

Patent.

   198.    On information and belief, Defendants intend to, and continue to intend to, indirectly

infringe the ’138 Patent through inducement of the sale and use of the Accused Streaming Services.

   199.    The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’138 Patent.




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   200.    On information and belief, despite knowing that their actions constituted induced

infringement of the ’138 Patent and/or despite knowing that there was a high likelihood that their

actions constituted induced infringement of the patent, Defendants nevertheless continued its

infringing actions, and continues to make, use, and sell, the Accused Streaming Services.

   201.    Defendants continue to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’138 Patent.

   202.    Defendants’ acts of induced infringement have injured and damaged DISH and will

continue to injure and damage DISH.

   203.    Defendants’ actions have caused DISH to suffer irreparable harm resulting from the

loss of its lawful patent rights and the loss of its ability to exclude others from the market. Upon

information and belief, Defendants will continue these infringing acts unless enjoined by this

Court.

           INDIRECT INFRINGEMENT BY CONTRIBUTORY INFRINGEMENT

   204.    DISH re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1–203 of the Complaint as if fully set forth herein.

   205.    Defendants are liable for contributory infringement of the ’138 Patent under 35 U.S.C

§ 271(c) by having sold or offered to sell, and continuing to sell or offer for sale the Accused

Streaming Services within the United States because the Accused Streaming Services constitute a

material part of the invention embodied in the ’138 Patent, which Defendants’ know to be

especially made and/or especially adapted for use in infringement of the ’138 Patent, and which is

not a staple article or commodity of commerce suitable for substantial non-infringing use.

   206.    Defendants are liable for contributory infringement by having knowledge of the ’138

Patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend




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to cause, direct infringement of the ’138 Patent by their customers, including users and subscribers,

who use the Accused Streaming Services.

   207.     Specifically, Defendants contribute to infringement of the ’138 Patent by, inter alia,

promotion, and/or sales of the infringing Accused Streaming Services to Defendants’ customers,

including users and subscribers, for their use of adaptive-rate content streaming as claimed in the

’138 Patent. Those customers directly infringe the ’138 Patent by using the Accused Streaming

Services.

   208.     For example, Defendant MG Premium, Ltd is liable for contributory infringement by

knowingly causing or intending to cause, and continuing to knowingly cause or intend to cause,

customers of the Accused Streaming Services, including users and subscribers, to directly infringe

the ’138 Patent by using the Accused Streaming Services in the United States.

   209.     The adaptive streaming technology market is a small and well-defined market with a

few major players, including Apple, Microsoft, Adobe and DISH since DISH’s acquisition and

continuing development of MOVE’s patent portfolio. On information and belief, as a provider of

streamed content, Defendants would have monitored developments relating to adaptive-rate

content streaming technology, including DISH’s ABR technology, and knew, or at the very least,

should have known, about the issuance of the ’138 Patent.

   210.     Defendant continues to provide the Accused Streaming Services with full knowledge

and disregard of the ABR Patents, including the ’138 Patent.

   211.     Defendants’ past and ongoing infringement of the ’138 Patent has and will continue to

irreparably harm DISH.

   212.     Defendants’ past and ongoing infringement of the ’138 Patent has and will continue to

cause DISH damages.




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    DEFENDANTS’ CONTINUED INFRINGEMENT CAUSES DISH IRREPARABLE
                               HARM

     213.   Defendants appear to have several entities operating out of Cyprus, and do not have

any operations, employees, or facilities in the United States, despite directing a substantial portion

of their business to the United States. Even if DISH were to obtain a favorable judgment, there is

no assurance that the entities sued here would satisfy a judgment or have collectible assets in the

United States. Money damages thus are unlikely to be adequate, because Defendants are likely

unable or unwilling to pay them.1

     214.   DISH has a reasonable likelihood of success on the merits of its case. At least two of

the patents asserted in this case, the ’564, and ’554 Patents, have previously been found to cover

the same streaming standards, HTTP Live Streaming and MPEG-DASH, that Defendants use for

the Accused Streaming Services. That action was an International Trade Commission Action. In

the Matter of Certain Fitness Devices, Streaming Components Thereof, and Systems Containing

Same, Inv. No. 337-TA-1265 (Commission Opinion (Public Version), (Mar. 23, 2023)), at 1 & 93.

(affirming ALJ's infringement findings) (“ITC Action”). DISH prevailed in infringement against

Peloton, iFit, and MIRROR.

     215.   In that ITC Action, the Commission also declared the asserted claims of the ’564 and

’554 Patents not invalid over prior art and over other invalidity challenges by Respondents.




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  Enforcing non-European Union foreign judgments in Cyprus is particularly difficult. Among
other prejudicial hurdles DISH will face attempting to enforce a monetary judgment against the
Cypriot defendants, Cypriot law gives Cypriot courts the authority to upend the enforceability of
American judgments after conducting independent analyses into issues such as personal
jurisdiction and public policy. See Exhibit T, at 11-13 (Browne et al., Enforcement of Foreign
Judgments,          LEXICOLOGY          Aug.         26,        2022,         available        at
https://www.pirilides.com/assets/modules/ppp/publications/230/docs/2023_enforcement_of_fore
ign_judgments_cyprus.pdf).

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    216.    DISH cannot allow an unlicensed entity to continue infringement without consequence

as additional potential licensees may be unwilling to license if DISH does not enforce its patent

rights.

    217.    Defendants can also operate their business without infringing the patents by either not

using DISH’s patented technology to provide its streaming or taking a license. Defendants will not

be harmed by either stopping use of the patented technology or taking a license. But DISH will

suffer hardship if Defendants are allowed to continue their unlicensed use of DISH’s patented

streaming technology.

    218.    Allowing overseas foreign entities to infringe on United States patents and avoiding

liability based on a corporate structure that appears to leave the Defendants unable to pay a

judgment does not serve the public interest.

                                          JURY DEMAND

    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs hereby request a trial by jury of all issues so triable.

                                      PRAYER FOR RELIEF

    WHEREFORE, DISH respectfully requests that this Court enter:

                A.      A judgment in favor of DISH that all Defendants have infringed the ABR

Patents, directly, jointly, and/or indirectly by way of inducing and/or contributing to the

infringement of the ABR Patents;

                B.      An order of this Court preliminarily and permanently enjoining Defendants

and their officers, directors, agents, affiliates, employees, divisions, branches, subsidiaries,

parents, and all others in active concert therewith from infringing, including inducing the

infringement of, or contributing to the infringement of, the ABR Patents;




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               a. DISH has a reasonable likelihood of success of that at least one claim

                  of the Asserted Patents is infringed by the Accused Streaming Services.

               b. DISH has already withstood a substantial invalidity challenge by

                  Respondents in the ITC Action and a full Commission has affirmed the

                  validity of the Asserted Patents in that ITC Action. The remaining

                  patents are part of that same family of patents.

               c. MindGeek and related entities involved with streaming entities are

                  involved in several lawsuits alleging exploitation, justice for survivors,

                  and victims seeking damages and punitive penalties for exploitation.

                  Pornhub - NCOSE (endsexualexploitation.org).

               d. DISH will suffer irreparable harm in its efforts to license or stop

                  infringement without a preliminary injunction. Defendants’ operations

                  appear to be designed to avoid liability due to the many exploitation

                  cases pending against MindGeek and related entities. DISH’s damages

                  will be substantial and there is a high likelihood DISH will never be able

                  to collect damages from the various foreign entities located in Cyprus,

                  given that they lack any substantial presence in United States or

                  recoverable assets in the United States. MindGeek and related entities

                  may simply transition their business to another entity and continue

                  operations.

               e. While Defendants may receive funding on an as-needed basis to pay

                  expenses, no excess cash appears available to satisfy a judgment.




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                      f. Defendants can operate their business without infringing the patents by

                         not using DISH’s patented streaming technology and thus will not suffer

                         harm with a preliminary injunction is entered.

              C.      A judgment and order requiring Defendants to pay DISH its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendants’ infringement of the ABR

Patents, as provided under 35 U.S.C. § 284;

              D.      A judgment and order finding this case exceptional under 35 U.S.C. § 285

and awarding DISH its costs, disbursements, and attorneys’ fees in connection with this action;

and

              E.      Such other and further relief to which DISH may show itself to be entitled

and/or as the Court may deem just and proper.

Dated: August 22, 2023                        Respectfully submitted,

                                              By:      __/s/Brent O. Hatch________
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